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       United States Court of Appeals
                                     for the

                        Eleventh Circuit
IRA KLEIMAN, as the Personal Representative of the Estate of David Kleiman,

                                                                     Plaintiff/Appellant,

                                      – v. –

                                 CRAIG WRIGHT,

                                                                   Defendant/Appellee.
                         _____________________________
        APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF FLORIDA
                   CASE NO: 9:18-cv-80176-BB
                       (Hon. Beth Bloom)

  PLAINTIFF-APPELLANT’S MOTION TO FILE
            CORRECTED BRIEF
 ANDREW BRENNER                                DEVIN (VELVEL) FREEDMAN
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                             Counsel for Plaintiff/Appellant
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             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Produce 26.1 and Eleventh Circuit Rule

26.1-1, Appellant IRA KLEIMAN, as the Personal Representative of the Estate of

David Kleiman, respectfully submits the following Certificate of Interested Parties

and Corporate Disclosure Statement:

         1. The Honorable Judge Beth Bloom, U.S. District Judge

         2. Boies Schiller Flexner LLP, Counsel for Plaintiff-Appellant

         3. Brenner, Andrew, Counsel for Plaintiff-Appellant

         4. BTCN 1610-491 LLC (CE)

         5. Delich, Joseph, Counsel for Plaintiff-Appellant

         6. Devine Goodman & Rasco, LLP, Counsel for non-party Andrew

            O’Hagan

         7. Economides, Constantine Philip Counsel for Plaintiff-Appellant

         8. Estate of David Kleiman, Plaintiff-Appellant

         9. Fernandez, Amanda Lara, Counsel for Defendant-Appellee

         10. Fernandez, Michael, Counsel for Defendant-Appellee

         11. Freedman, Velvel, Counsel for Plaintiff-Appellant

         12. Glaser, Patricia, Counsel for non-party John Doe


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       13. Glaser Weil Fink Howard Avchen & Shapiro LLP, Counsel for non-

          party John Doe

       14. Harrison, Laselve, Counsel for Plaintiff-Appellant

       15. *Holtzman, Alexander, Counsel for Plaintiff-Appellant

       16. Kass, Zalman, Counsel for Defendant-Appellee

       17. Kleiman, Ira, Plaintiff-Appellant

       18. Lagos, Stephen, Counsel for Plaintiff-Appellant

       19. Licata, Samantha, Counsel for Plaintiff-Appellant

       20. Lohr, Whitney, Counsel for Defendant-Appellee

       21. *Markoe, Zaharah, Counsel for Defendant-Appellee

       22. McGovern, Amanda Counsel for Defendant-Appellee

       23. Mestre, Jorge, Counsel for Defendant-Appellee

       24. Payne, Darrell Winston, Counsel for non-party John Doe

       25. Pritt, Maxwell, Counsel for Plaintiff-Appellant

       26. Rasco, Guy Austin, Counsel for non-party Andrew O’Hagan

       27. The Honorable Judge Bruce Reinhart, U.S. District Magistrate Judge

       28. Rivero, Andres, Counsel for Defendant-Appellee

       29. Rivero Mestre LLP, Counsel for Defendant-Appellee

       30. Roche Freedman LLP, Counsel for Plaintiff-Appellant

       31. Roche, Kyle, Counsel for Plaintiff-Appellant
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         32. Rolnick, Alan, Counsel for Defendant-Appellee

         33. Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A., Counsel

             for non-party John Doe

         34. Wright, Craig, Defendant-Appellee

         35. Zack, Stephen, Counsel for Plaintiff-Appellant

* = no longer involved in representation

      Appellant certifies that no publicly traded company or corporation has an

interest in the outcome of the case of appeal.




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   PLAINTIFF-APPELLANT’S MOTION TO FILE CORRECTED BRIEF

   Plaintiff-Appellant, IRA KLEIMAN, as personal representative of the Estate of

David Kleiman, by and through his undersigned counsel, respectfully move pursuant

to Fed. R. App. P. 27 for leave to file a corrected Opening Brief. The grounds for

this motion are as follows:

   1. On August 17, 2023, Plaintiff-Appellant timely filed their Opening Brief in

      the above captioned matter.

   2. Plaintiff-Appellant’s Opening Brief contains certain citations errors.

         a. First, the cite to “P306” on page 4 was made in error. The correct cite

             is ECF [611-20], at 82:9-12, 82:16-21, 88:8-17, 89:6-90:9, 99:21-

             100:9, 101:1-7, 144:23-145:4.

         b. Second, the cite to Trial Transcript Day 5 at 68:7-21 on page 17 is

             missing a docket number and should include ECF [841].

         c. Third, the docket cite ECF [840] Trial Tr. Day 4 at 17:20-23 on page

             16 is missing a number and should read 174:20-23.

         d. Fourth, the cites [840] Trial Tr. Day 4 at 84:1-2 and ECF [838] Trial

             Tr. Day 2 at 184:19-24 on page 47 were made in error should be

             removed.




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          e. Lastly, the cite to ECF [839] Day 3 Trial Tr. at 19:23-20:1 on page 4

             should instead be ECF [611-14] at 49:13-50:19, 139:8-16, 140:1-3.

   3. In order to correct the citation errors, Plaintiff-Appellant has prepared a

      corrected brief, attached hereto as Exhibit A.

   4. Defendant-Appellee, through counsel, does not oppose this motion.

   WHEREFORE, for the foregoing reasons, Plaintiff-Appellant respectfully

requests leave to file a corrected brief.

      DATED this 25th day of August 2022.




                                                Respectfully Submitted,

                                                /s/ Devin (Velvel) Freedman
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                       CERTIFICATE OF COMPLIANCE


      This brief complies with the type-volume limitations of Fed. R. App. P.

32(a)(7)(B) as the brief contains 239 words, excluding those parts exempted by 11th

Cir. Local R. 32-4.

      This motion complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) as this brief has

been prepared in a proportionally spaced typeface using Microsoft Word in 14 point

Times New Roman font.




                                               /s/ Devin (Velvel) Freedman




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                         CERTIFICATE OF SERVICE
       I hereby certify that on August 25, 2022, a copy of the motion was served on
all counsel of record via CM/ECF or in some other authorized manner for those
counsel or parties who are not authorized to receive electronic Notices of Electronic
Filing.



                                                    /s/ Devin (Velvel) Freedman




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